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       Attorneys for Plaintiff



                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PORTLAND DIVISION

OGILVIA PINEDA,                                   Case No. 20-cv-1615-IM

               Plaintiffs,
                      v.
                                                  DECLARATION OF COUNSEL
JEFFERSON COUNTY; CPL. TYLER
ANDERSON; and JOHN DOES 1-10,

               Defendants.


I, Juan C. Chavez, submit the following declaration:

       I am the counsel of record for the Plaintiff, Juan C. Chavez, and I make this declaration in

support of Plaintiff’s Motion for Extension. My statements are true to the best of my own

knowledge, except as to those matters which are therein alleged on information and belief, and as

to those matters, I believe them to be true.

1.     We have had difficulty serving the parties in Madras, OR during this global pandemic.

Particularly, the COVID-19 spike in Oregon has lead to decrease in the availability of process

services and offices willing to receive them. Lastly, I had a family emergency which resulted in


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the service issue being unresolved. At the time of the filing of this motion, I have found a process

server and they have been dispatched to Madras, OR but has not received word on whether

service has been completed.

        I hereby declare that above statement is true to the best of my knowledge and

belief, and that I understand it is made for use as evidence in court and is subject to penalty

for perjury.

       DATED: December 15, 2020

                                                             /s/ Juan C. Chavez
                                                             Juan C. Chavez, OSB #136428
                                                             PO Box 5248
                                                             Portland, OR 97208




DECLARATION OF COUNSEL
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